     Case
      Case2:08-cr-00332-JCM-GWF
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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10              v.                                      )          2:08-CR-332-JCM (GWF)
                                                        )
11    WAYNE LAMARR GANAWAY,                             )
                                                        )
12                          Defendant.                  )
13                                       ORDER OF FORFEITURE
14              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover
15    from WAYNE LAMARR GANAWAY a criminal forfeiture money judgment in the amount of
16    $4,128,554.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18,
17    United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,
18    United States Code, Section 982(a)(2)(A) and (a)(2)(B); and Title 21, United States Code, Section
19    853(p).
20                    April______
                DATED this  11, 2012.
                                  day of __________________, 2012.
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                                                   UNITED
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 1                                          PROOF OF SERVICE
 2            I, Heidi L. Skillin, certify that the following individuals were served with copies of the Order
 3    of Forfeiture on April 6, 2012, by the below identified method of service:
 4            Electronic Filing
 5            Jason F. Carr                                 David T. Brown
              Monique N. Kirtley                            Brown, Brown, & Premsrirut
 6            Brenda Weksler                                520 S. Fourth Street, Second Floor
              Assistant Federal Public Defenders            Las Vegas, NV 89101
 7            411 E. Bonneville, Suite 250                  master@brownlaw.com
              Las Vegas, NV 89101                           Counsel for Jeffrey Curtis Bigsby
 8            ECF_Vegas@FD.ORG
              Monique_Kirtley@fd.org
 9            Karen_Brokaw@fd.org
              Counsel for Dwight Ramon Pollard
10
              Osvaldo E. Fumo                               Mario D. Valencia
11            Osvaldo E. Fumo, Chtd                         Law Office of Mario D. Valencia
              1212 Casino Center Boulevard                  1055 Whitney Ranch Drive, Suite 220
12            Las Vegas, NV 89104                           Henderson, NV 89014
              ozzie@fumolaw.com                             mario_valencia@cox.net
13            Counsel for Gainu Adisa Kosoko                Counsel for Wayne Lamarr Ganaway
14            Amy Chelini                                   Todd M. Leventhal
              Law Office of Amy Chelini                     Flangas & Leventhal
15            630 S. Seventh Street                         600 South Third Street
              Las Vegas, NV 89101                           Las Vegas, NV 89101
16            chelinilaw@hotmail.com                        todlev@yahoo.com
              Counsel for Gainu Adisa Kosoko                Counsel for Anjali Yasmin Aurora
17

18
                                                    /s/HeidiLSkillin
19                                                  HEIDI L. SKILLIN
                                                    Forfeiture Support Associates Clerk
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